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            Corrected Exhibit F
Gemini account documents for Saffron & James
           Damien Scott accounts
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                                                                      SDKD-Gemini-0000000007
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                                                                      SDKD-Gemini-0000000008
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                                                                      SDKD-Gemini-0000000009
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